
USCA1 Opinion

	











                            United States Court of Appeals
                            United States Court of Appeals
                                For the First Circuit
                                For the First Circuit
                                 ____________________


            No. 97-1584

                              WALDO G. VAZQUEZ, ET AL.,

                               Plaintiffs, Appellants,

                                          v.

                            CARLOS LOPEZ-ROSARIO, ET AL.,

                                Defendants, Appellees.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                  [Hon. Juan M. Perez-Gimenez, U.S. District Judge]
                                               ___________________

                                 ____________________

                                        Before

                                Lynch, Circuit Judge,
                                       _____________

                              Cyr, Senior Circuit Judge,
                                   ____________________

                           and DiClerico, District Judge.*
                                          ______________
                                 ____________________

                      Harry  Anduze  Monta o, with  whom Raul  S. Mariani
                      ______________________             ________________
            Franco was on brief, for appellants.
            ______
                      Rafael  Cuevas-Kuinlam, with  whom Antonio  Cuevas-
                      ______________________             ________________
            Delgado  and Cuevas,  Kuinlam &amp; Bermudez  were on  brief, for
            _______      ___________________________
            appellee Carlos Lopez-Rosario.
                      Jaime  Mayol-Bianchi,  with  whom  Jose  R.  Perez-
                      ____________________               ________________
            Hernandez and  Pierluisi  &amp;  Mayol-Bianchi,  P.S.C.  were  on
            _________      ____________________________________
            brief, for appellee Puerto Rico Marine Management, Inc.
                      Radames   A.   Torruella,  with   whom   Carmencita
                      ________________________                 __________
            Velazquez-Marquez, Jorge A. Antongiorgi, and McConnell Valdes
            _________________  ____________________      ________________
            were on  brief, for  appellee Puerto  Rico Maritime  Shipping
            Authority.

                                
            ____________________

            *Of the District of New Hampshire, sitting by designation.















                                 ____________________

                                   January 22, 1998
                                 ____________________
















































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                      LYNCH,  Circuit Judge.   This case is  another in a
                      LYNCH,  Circuit Judge.   
                              _____________

            series of cases  arising out of the elections  in Puerto Rico

            in 1992, in  which the New Progressive Party  (NPP) won power

            from its rival,  the Popular Democratic Party  (PDP).  During

            the  current decade, plaintiffs  in these cases  usually have

            been members  of the PDP  who complain that the  incoming NPP

            administration  has deprived them of their government jobs in

            violation  of their  rights under  the First Amendment.1   In

            this  case, plaintiff  Waldo G.  Vazquez,  an NPP  supporter,

            claims his job  at a government contractor was  eliminated as

            part of an  internal party feud.   He sues his employer,  its

            major client  (a public  corporation),  and a  member of  the

            client's board under 42 U.S.C.   1983 (1994).

                      The   district  court   concluded  that   Vazquez's

            evidence,  principally his own testimony, amounted to no more

            than "hearsay upon hearsay" and "rumors, hearsay, gossip, his

            personal  feelings, his intuition  and his  conclusions," and

            granted summary judgment for defendants.  Vazquez argues that

            the district court  committed error in excluding  evidence as

            hearsay  when   the  statements  were  admissions  by  party-

            opponents.  Thus, we explore in some detail the  requirements

            of Fed. R. Evid. 801(d)(2) as to party-opponent admissions, a

            recurring issue in employment cases.

                                
            ____________________

            1.  See, e.g., Acosta-Orozco v.  Rodriguez-de-Rivera, No. 97-
                _________  _____________     ___________________
            1489,  1997 WL  775350, at  *8 n.1  (1st Cir. Dec.  22, 1997)
            (citing cases).

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                      We   agree   with   Vazquez  that   some   of   the

            conversations which the  district court  excluded on  hearsay

            grounds  are admissions of  a party-opponent and  should have

            been considered as  part of his case.   To win the  battle is

            not necessarily to win the war.  Because the evidence Vazquez

            presents  is  insufficient  to  create  a  genuine  issue  of

            material fact in any event, we affirm.

                                          I.
                                          I.

                      We state the facts  in the light most  favorable to

            the  party   opposing  summary  judgment,   Acosta-Orozco  v.
                                                        _____________

            Rodriguez-de-Rivera,  No. 97-1489, 1997 WL 775350, at *1 (1st
            ___________________

            Cir. Dec. 22 1997), and describe the evidence in some detail.



                      Waldo Vazquez was employed for many years by Puerto

            Rico Maritime Management, Inc. (PRMMI), a private corporation

            that provides management  services to the Puerto  Rico Marine

            Shipping  Authority (PRMSA), a  public corporation created by

            the Puerto  Rico legislature.   PRMSA's  Governing Board  has

            seven  members  appointed  by the  Governor  of  Puerto Rico,

            subject to confirmation by the Commonwealth's Senate.  See 23
                                                                   ___

            L.P.R.A.    3054  (1994).     PRMSA  acknowledges  it   is  a

            government  agency,  and we  have  held  it is  a  "political

            subdivision" of  the Commonwealth  of Puerto  Rico under  the

            National   Labor  Relations  Act.     See  Chaparro-Febus  v.
                                                  ___  ______________

            International Longshoremen  Ass'n, Local 1575,  983 F.2d  325
            _____________________________________________



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            (1st Cir. 1992).  At the time of his dismissal from  PRMMI in

            1993,  Vazquez held the  title Vice President  of Operations,

            Caribbean Division.

                      In 1992, a new contract between PRMSA and PRMMI was

            signed,  giving  authority  to  the  PRMSA  Board  over  "key

            personnel" within  PRMMI.    PRMSA was  given  the  right  to

            dismiss high-level  PRMMI employees "for any  material breach

            of its contract by such [PRMMI] key personnel and/or for just

            cause."  Vazquez's  position was among those  designated "key

            personnel." 

                      In  1993, PRMSA had accumulated losses in excess of

            $300 million.   Vazquez does  not dispute this.   On February

            24,  1993, the  PRMSA Board  voted,  in light  of these  high

            losses, to authorize a reduction-in-force (RIF) of twenty-six

            employees at PRMMI; eventually  at least forty-one employees'

            jobs were  eliminated.   Vazquez's position  was among  those

            selected for  elimination, either  directly by  the Board  or

            pursuant  to its  RIF directive.    The record  is not  clear

            whether  Vazquez's   position  was  among   those  originally

            selected  for elimination  by the  Board.   However, as  some

            evidence  supports the  conclusion  that  the Board  directly

            authorized Vazquez's dismissal, we will assume that it did.

                      In late March  1993, Steve  Schulein, a  high-level

            PRMMI  official,  informed  Vazquez  over  breakfast  at  the

            Ambassador Plaza Hotel in Puerto  Rico that his position  was



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            going to be eliminated at  the beginning of April.  According

            to Vazquez's testimony, Schulein told Vazquez that he did not

            understand why  Vazquez was  to  be dismissed,  and that  the

            elimination of his position had not been part of the original

            reorganization plan submitted  to the PRMSA Board.   Schulein

            said that he understood that  the decision came from a member

            of  the PRMSA  Board.   This conversation  took place  in the

            period when the other PRMMI employees were also being let go.

                      The next day, Vazquez called Manuel Luis del Valle,

            Chairman of  the  Governing  Board  of  PRMSA,  in  order  to

            ascertain  why his position had been selected for elimination

            in the Board's new plans for PRMMI's reorganization.  Vazquez

            told Del  Valle that  his dismissal "was  an injustice  and a

            persecution."   Vazquez argued that similar employees had not

            been eliminated, and that he had rejected the company's early

            retirement program  two years  before because  he needed  the

            salary and felt  he still had much to offer the company.  Del

            Valle  promised  he  would help  Vazquez  fight  his proposed

            dismissal, because,  according to  Vazquez,  Del Valle  "also

            understood that it was an injustice."

                      On  April  2,  1993,   Vazquez  received  a  letter

            informing  him  that  "due  to  [PRMMI's]  current  financial

            condition you will be laid off . . . ."  

                      Vazquez continued his inquiries  and protests about

            his dismissal.  At some later time, Del Valle told Vazquez of



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            a conversation  Del Valle  had with  Carlos Lopez-Rosario,  a

            member of the  PRMSA Board.  According to  Vazquez, Del Valle

            told him that Lopez had told Del Valle that "the problem" was

            that Vazquez  had "political  differences" with  Lopez.   The

            record is unclear when the conversation between Lopez and Del

            Valle supposedly took place or  whether it had anything to do

            with  Vazquez's   dismissal.    Del  Valle's   comments  also

            confirmed  what Vazquez  calls  "hallway  gossip" that  Lopez

            disliked Vazquez.

                      Vazquez    suspected    that    these    "political

            differences" stemmed from the NPP's gubernatorial primary  in

            1992.   Vazquez had  supported the  losing candidate,  Carlos

            Romero-Barcelo  ("Romero"), now  the Commonwealth's  Resident

            Commissioner  in Washington,  while Lopez  had supported  the

            winner, Pedro Rosello, now the Governor of Puerto Rico.  

                      Vazquez speculated that this disagreement must have

            motivated his dismissal.   He remembered a  conversation with

            Lopez a few years earlier at an NPP activity in the home of a

            prominent  supporter.   Vazquez had expressed  his preference

            for  Romero  as  a  gubernatorial  candidate  and  Lopez  had

            disagreed, arguing for Rosello.  Vazquez also speculated that

            Lopez  might  be retaliating  against  him  for the  work  of

            Vazquez's  wife  in  organizing a  women's  group  to support

            Romero in a political campaign almost two decades earlier.





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                      According   to  Vazquez,   Miguel  Rossy,   PRMMI's

            President,  confirmed in a conversation at a local restaurant

            that  Vazquez's position  was not  included  in the  original

            reorganization  plan and  that  the  decision  came  from  an

            unnamed PRMSA  Board member,  "[s]omebody  who doesn't  . . .

            like  you, who  is  opposed  to  Carlos  [Romero's]  people."

            Vazquez took this unnamed person to be Lopez.

                      On  several  occasions,  Vazquez  also  asked  both

            Commissioner  Romero  and  Governor   Rosello  personally  to

            intervene and reverse the decision, citing his long record of

            service with PRMMI.  The  Governor told Vazquez that he would

            have  to handle  the  issue  with  the PRMSA  Board  himself.

            According to Vazquez, at some point Ricardo Gonzalez, a PRMSA

            Board  member, told  Vazquez that  he  had tried  to get  the

            decision  reversed, but that  "the pressure was  too strong."

            Gonzalez did not explain what  he meant by "pressure," or who

            was applying pressure.

                      Finally,  in  May  1993,  Vazquez  met  with  Lopez

            personally in Lopez's  office at PRMSA.  Vazquez  asked Lopez

            whether   what  Del  Valle  had  told  him  about  "political

            differences"  was true.  Lopez replied, according to Vazquez,

            "I made some remarks . . .  those remarks to Manuel Luis [del

            Valle] over a  Coca-Cola or a cup of  coffee, but Manuel Luis

            shouldn't have told  you."  There is no  indication when such

            remarks were made.



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                                         II.
                                         II.

                      Vazquez filed suit against PRMSA,  PRMMI and Lopez,

            alleging that his dimissal was retaliation for his support of

            Romero,  in violation  of  his  First  Amendment2  rights  of

            political  association under  Elrod v.  Burns,  427 U.S.  347
                                          _____     _____

            (1976) and Branti v. Finkel, 445 U.S. 507 (1980).3  Following
                       ______    ______

                                
            ____________________

            2.  We  note that, under plaintiff's theory, the state action
            doctrine poses no  bar to his assertion of  a First Amendment
            claim against PRMSA and Lopez,  although he was employed at a
            private company.  Cf. Yeo  v. Town of Lexington, No. 96-1623,
                              ___ ___     _________________
            1997 WL 748667, at *8 (1st Cir.  Dec. 9, 1997) (en banc) ("If
            there  is no  state action,  then  the court  may not  impose
            constitutional obligations  on (and thus restrict the freedom
            of) private  actors.").   For summary  judgment purposes,  we
            take it  that Vazquez's dismissal  came at the  insistence of
            the Board of Governors of a state agency, an agency which had
            retained the power in its contract to demand the dismissal of
            "key personnel."   Furthermore, although plaintiff was  not a
            government employee, he  was dismissed,  at the  government's
            insistence, from his job  with a government contractor.   The
            First   Amendment  forbids  the   government  not  only  from
            interfering with  the associational rights of  its employees,
            but also from using its  power over contractors to punish its
            political opponents.  See Board  of County Comm'rs v. Umbehr,
                                  ___ ________________________    ______
            116 S. Ct. 2342 (1996);  O'Hare Truck Serv., Inc. v.  City of
                                     ________________________     _______
            Northlake,  116 S.  Ct. 2353 (1996).   Moreover,  because his
            _________
            claim fails  against the state  actors, it fails  against the
            private or semi-private actors who did the state's bidding.

            3.  Under  Elrod and Branti, the government may not condition
                       _____     ______
            employment  on membership in the party in power, unless party
            affiliation is an  appropriate requirement for  the position.
            See Branti, 445 U.S. at 517-18.   Vazquez's claim is that his
            ___ ______
            support of  Romero prompted  his dismissal by  a member  of a
            rival faction within the same party.
                 It is unclear  from the summary judgment  record whether
            Vazquez's  support of  Romero should  be  analyzed under  the
            categorical  rule  for  political affiliation  of  Elrod  and
                                                               _____
            Branti or  under the balancing  test for political  speech by
            ______
            government  employees  established in  Pickering v.  Board of
                                                   _________     ________
            Educ., 391 U.S.  563 (1968).  See,  e.g., Rodriguez-Rodriguez
            _____                         __________  ___________________
            v.  Munoz-Munoz,  808  F.2d  138,  143-147  (1st  Cir.  1986)
                ___________
            (contrasting  a claim based on "affiliation with a particular

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            discovery,  the district  court granted  motions for  summary

            judgment for PRMMI  and Lopez, and a few  days later, granted

            summary judgment  sua sponte for PRMSA, which  had not joined

            the other  defendants' motions.   On  appeal, Vazquez  claims

            that  the district court erred in excluding the conversations

            he relates in his deposition on hearsay grounds, because most

            of  the statements, he  says, were  admissible under  Fed. R.

            Evid. 801(d)(2) as  admissions of a party-opponent.   Vazquez

            claims that the  conversations he  describes were  sufficient

            evidence to permit his case  to survive summary judgment.  He

            also claims that the district  court abused its discretion in

            entering summary judgment sua sponte for PRMSA.

                                         III.
                                         III.

                      Evidence  that is  inadmissible at  trial, such  as

            inadmissible  hearsay,  may  not  be  considered  on  summary

            judgment.  See Fed. R. Civ. P. 56(e); FDIC v. Roldan-Fonseca,
                       ___                        ____    ______________

            795 F.2d 1102, 1110 (1st Cir. 1986).  We  review the district

            court's  decision to  exclude  such  evidence  for  abuse  of

            discretion.   See General  Elec. Co. v.  Joiner, No.  96-188,
                          ___ __________________     ______

            1997 WL 764563, at *4 (U.S. Dec. 15, 1997); Nieves-Villanueva
                                                        _________________

            v. Soto-Rivera, No. 96-1285, 1997  WL 775545, at *5 (1st Cir.
               ___________

                                
            ____________________

            political group" and  one based on active  partisan activity,
            speech or running for office).   The parties and the district
            court  assumed the Elrod-Branti  test applied.   We determine
                               _____ ______
            that summary  judgment was  appropriate even  under the  more
            demanding Elrod-Branti standard, and  therefore do not  reach
                      _____ ______
            the issue of  which line of First  Amendment precedent should
            apply.

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            Dec. 22, 1997).  Once we determine what evidence can properly

            be considered,  we review  the district  court's decision  to

            grant  summary judgment de novo.  Acosta-Orozco v. Rodriguez-
                                              _____________    __________

            de-Rivera,  No. 97-1489, 1997 WL 775350, at *1 (1st Cir. Dec.
            _________

            22, 1997).

            A. Hearsay and Party-Opponent Admissions
            ________________________________________

                      Fed. R.  Evid. 801(c) defines hearsay  generally as

            "a statement,  other than  one made  by  the declarant  while

            testifying at the  trial or hearing,  offered in evidence  to

            prove  the  truth  of  the  matter asserted."    All  of  the

            conversations  which   Vazquez  relates   fit  this   general

            definition, as they are offered to show that Lopez was behind

            Vazquez's dismissal, and that his motive was to retaliate for

            Vazquez's  support   of  Romero.     Indeed,   most  of   the

            conversations are hearsay within hearsay.

                      Vazquez argues,  however, that  these conversations

            are  nonetheless  admissible  because  the  Federal Rules  of

            Evidence  define  admissions  by  a  party-opponent  as  "not

            hearsay."  See Fed. R.  Evid. 801(d)(2).  Vazquez argues that
                       ___

            the comments by high PRMSA and PRMMI officials, acting within

            the scope of their agency or employment, are admissible under

            this rule.  In addition,  Vazquez properly notes, there is no

            objection to  "hearsay within hearsay"  if each  link in  the

            chain  is admissible under an  exception to the hearsay rules

            or is  not  defined as  hearsay.    See Fed.  R.  Evid.  805.
                                                ___



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            Careful scrutiny of  the comments on which Vazquez  relies is

            necessary to evaluate this argument.

                      For  a  statement  to be  an  admission  under Rule

            801(d)(2), the  statement must be  made by a  party, or by  a

            party's agent  or servant within  the scope of the  agency or

            employment.  See, e.g., Woodman v. Haemonetics Corp., 51 F.3d
                         _________  _______    _________________

            1087, 1093-94 (1st Cir. 1995);  Union Mutual Life Ins. Co. v.
                                            __________________________

            Chrysler Corp., 793 F.2d 1, 6-8  (1st Cir. 1986).4  Each link
            ______________

            in  the chain  must be  admissible, either  because it  is an

            admission  and thus not  hearsay or under  some other hearsay

            exception.

                      The conversations that Vazquez himself describes as

            "hallway gossip" were properly excluded as hearsay.  Although

            Vazquez  identifies some of  the individuals who  related the


                                
            ____________________

            4.  Fed. R. Evid. 801(d)(2) provides that a statement is "not
            hearsay" if:
                      The statement is offered  against a party
                      and is (A)  the party's own statement  in
                      either an individual  or a representative
                      capacity or (B) a  statement of which the
                      party  has  manifested   an  adoption  or
                      belief in  its truth, or  (C) a statement
                      by  a person  authorized by the  party to
                      make a statement  concerning the subject,
                      or (D) a  statement by the party's  agent
                      or servant concerning a matter within the
                      scope of  the agency or  employment, made
                      during the existence of the relationship,
                      or (E) a statement  by a coconspirator of
                      a  party   during  the   course  and   in
                      furtherance of the conspiracy.
            The  other  exceptions  are not  relevant  to  the statements
            offered  in  this  case,   which  can  more  easily  fit  the
            exceptions mentioned in the text.

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            rumor   that  Lopez  disliked  him,  nothing  in  the  record

            identifies the sources of this  information.  While there may

            be  a controversy  over whether admissions  must be  based on

            personal  knowledge, see  Brookover  v. Mary  Hitchcock  Mem.
                                 ___  _________     _____________________

            Hosp.,  893 F.2d 411, 414-16 (1st  Cir. 1990) (canvassing the
            _____

            controversy),  unattributed  statements  repeated  by  party-

            opponents cannot be admissible.  As the original declarant is

            unknown, it is  impossible to determine whether  the original

            declarant also fits within the party-opponent definition, and

            thus the  exclusion of such  office gossip was proper.   See,
                                                                     ____

            e.g., Carden v. Westinghouse Elec. Corp., 850 F.2d 996, 1001-
            ____  ______    ________________________

            02  (3rd Cir. 1988) (excluding such unattributed hearsay when

            repeated by  party-opponent); Cedeck v. Hamiltonian Fed. Sav.
                                          ______    _____________________

            &amp; Loan Ass'n, 551 F.2d 1136, 1138 (8th Cir. 1977) ("That part
            ____________

            of  [the   party-opponent's]  statement   which  contains   a

            reiteration of what someone told  him is not admissible as an

            admission  by  [a]  party-opponent since  the  author  of the

            statement is unknown.")5

                                
            ____________________

            5.  We distinguish cases where the statements are not offered
            as proof that  they were in fact made, but  rather as general
            examples of  unlawful company policy.   See, e.g.,  Abrams v.
                                                    _________   ______
            Lightolier,  Inc.,  50  F.3d 1204,  1215-16  (3rd  Cir. 1995)
            _________________
            (finding admissible supervisor's statement,  repeated to ADEA
            plaintiff, that  company "frowned on" older  workers); Hybert
                                                                   ______
            v.  Hearst  Corp.,  900  F.2d  1050,  1053  (7th  Cir.  1990)
                _____________
            (admitting  supervisor's  statements   about  "concerns"  and
            "feelings"  of  home  office  as  direct  statements  of  the
            company's   attitude  or   policy  rather   than  second-hand
            repetitions,  inadmissible  because unattributed).    Vazquez
            does  not  claim  that  PRMSA  had  a  policy  or  custom  of
            persecuting  Romero  followers,  but merely  that  one  Board

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                      Likewise, the exclusion as hearsay of the statement

            of Miguel Rossy, PRMMI's president,  that Vazquez's dismissal

            was at  the behest  of "someone [at  PRMSA] who  doesn't like

            you, who is opposed to  Carlos [Romero's] people," was within

            the district  court's discretion.    Even assuming  dubitante

            that  Rossy's description  of  the  statement  is  enough  to

            identify  the declarant  as Lopez,  or  at least  as a  Board

            member and thus an agent of PRMSA, Rossy was the President of

            PRMMI, not PRMSA.  This breaks the link in the hearsay chain.

            There is no  evidence that Rossy was authorized  to speak for

            PRMSA's  Board, and thus  his statement cannot  be considered

            within  the scope  of  his  agency as  an  officer of  PRMMI.

            See Skillsky  v. Lucky Stores,  Inc., 893 F.2d  1088, 1091-92
            ___ ________     ___________________

            (9th  Cir. 1990)  (no  abuse of  discretion  in exclusion  of

            double-hearsay statement which was related to plaintiff by an

            agent  of a different  employer where there  was "no evidence

            that [the person who  related the alleged statement] had  any

            authority to make  [such] admissions"); cf. Woodman,  51 F.3d
                                                    ___ _______

            at  1094 (examining record  to determine whether  manager was

            acting  within  scope  of her  employment);  Miles  v. M.N.C.
                                                         _____     ______

            Corp., 750 F.2d 867, 874 (11th Cir. 1985) (same).
            _____


                                
            ____________________

            member, Lopez, did  so in his case.   See Abrams, 50  F.3d at
                                                  ___ ______
            1216 (contrasting a "specific declaration made [concerning] a
            particular employment decision . . . offered  for its truth,"
            which  was inadmissible if from  an unknown declarant, with a
            supervisor's "opinion  regarding company  policy," which  was
            admissible).

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                      However, many  of the other conversations  on which

            Vazquez relies should not have been excluded as hearsay.  Del

            Valle's  conversation with Vazquez  relating the "problem" of

            Lopez's "political differences" with Vazquez fits within  the

            Rule 801(d)(2) exception.  The statement concerning political

            differences was  made by a  party (Lopez) and related  by Del

            Valle, who was Chairman of the PRMSA Board and thus the agent

            of PRMSA, a party.   The district court abused its discretion

            by  excluding  this  conversation as  "hearsay,"  if  that is

            indeed what it did.  

                      Similarly, the statement of Gonzalez, a PRMSA Board

            member,  that "the  pressure was too  strong" to  reverse the

            decision is not hearsay, as  Gonzalez was clearly an agent of

            PRMSA.   Thus, Gonzalez's statement  can properly be  used to

            prove the  truth of the  matter asserted, i.e., that  he felt

            under "pressure" not to reverse the PRMSA decision.  However,

            Gonzalez's  statement  cannot  be  used  as  "hearsay  within

            hearsay" to  prove that Lopez had urged the Board to stand by

            a  decision to dismiss  Vazquez.  Gonzalez  does not identify

            the  person  applying  "pressure," and  the  statement  of an

            unidentified declarant is hearsay.

                      Finally, Vazquez's description of his confrontation

            with Lopez is plainly not hearsay.  Lopez is a party, and his

            direct  admission that he had  made some informal comments to

            Del Valle  that  he did  not  want  Vazquez to  hear  is  not



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            hearsay.  Again,  Lopez's statement can be used  to prove the

            truth of the matter asserted,  i.e., that he made comments to

            Del Valle that he did not want repeated to Vazquez.

                      The  Lopez statement,  however, is  insufficient to

            establish  an "adoptive  admission"  that Lopez  acknowledged

            that he had been responsible for Vazquez's dismissal and that

            it  was in retaliation  for Vazquez's  support of  Romero, as

            Vazquez argues.   See Fed. R. Evid. 801(d)(2)(B) (defining as
                              ___

            "not hearsay" "a statement of which  the party has manifested

            an adoption  or belief  in its  truth").   The  burden is  on

            Vazquez  to  show  that  the  circumstances  surrounding  the

            conversation with Lopez  demonstrate that Lopez  manifested a

            belief in  the accusation of  retaliation.  See  Ricciardi v.
                                                        ___  _________

            Children's Hosp. Med. Ctr., 811  F.2d 18, 24 (1st Cir. 1987).
            __________________________

            "In all cases, the burden is on the proponent to convince the

            judge  that in  the circumstances  of the  case a  failure to

            respond is so unnatural  that it supports the inference  that

            the  party  acquiesced in  the statement."   Id.  (quoting J.
                                                         ___

            Weinstein    &amp;   M.    Berger,    Weinstein's   Evidence     
                                              ______________________

            801(d)(2)(B)[01], at 801-202 n.15 (1985) (internal  quotation

            marks and alterations omitted)).

                      The record, however, reveals that Vazquez, at most,

            accused Lopez  of making statements  to Del Valle,  and Lopez

            responded  by  admitting  that he  had  made  "some remarks."

            Vazquez  does  not  say  that he  accused  Lopez  directly of



                                         -16-
                                          16















            retaliating against him,  only that he accused him  of making

            statements to Del  Valle about  their political  differences.

            It  would  hardly be  unnatural  to  fail  to respond  to  an

            accusation that Vazquez does not claim to have made.

            B. Summary Judgment on the Motive for Vazquez's Dismissal
            _________________________________________________________

                      In  order  to forestall  summary  judgment, Vazquez

            must have  demonstrated  that his  support of  Romero was  at

            least  a "motivating  factor"  in  the  Board's  decision  to

            dismiss  him.   See  Rodriguez-Rodriguez v.  Munoz-Munoz, 808
                            ___  ___________________     ___________

            F.2d  138, 143  (1st Cir.  1986).   Vazquez must  "point[] to

            [admissible] evidence in the record which, if credited, would

            permit  a  rational   fact  finder  to  conclude   that  [his

            dismissal]  stemmed from  a politically  based discriminatory

            animus," LaRou  v. Ridlon, 98  F.3d 659, 661 (1st  Cir. 1996)
                     _____     ______

            (quoting  Rivera-Cotto v. Rivera, 38  F.3d 611, 614 (1st Cir.
                      ____________    ______

            1994)  (internal quotation  marks and  alterations omitted)),

            rather than for economic reasons.  "Without more, [Vazquez's]

            unsupported  and speculative  assertions regarding  political

            discrimination  will  not   be  enough  to   survive  summary

            judgment."  Id.
                        ___

                      The record reveals that  Vazquez felt his dismissal

            was unfair and that many of his friends agreed with him.   He

            had worked  for many years  at PRMMI, climbing  the corporate

            ladder,  had rejected early  retirement two years  before and

            was then  dismissed.   The conversations  he relates  contain



                                         -17-
                                          17















            many statements of support from PRMSA and PRMMI employees who

            sympathized  with  him.    However, "[m]erely  juxtaposing  a

            protected  characteristic -- [Lopez's]  politics --  with the

            fact plaintiff was treated unfairly  is not enough to state a

            constitutional  claim."  Acosta-Orozco, 1997 WL 775350, at *5
                                     _____________

            (quoting Correa-Martinez v. Arrillaga-Belendez,  903 F.2d 49,
                     _______________    __________________

            58 (1st Cir. 1990) (internal quotation marks omitted)).

                      Instead, Vazquez must point to evidence which shows

            that  Lopez singled  out Vazquez's  position,  which was  not

            included in the original reorganization plan, for elimination

            and  that he  did so  to retaliate  for Vazquez's  support of

            Romero.  Vazquez can point to three conversations to  support

            this theory.   First,  he can point  to Del  Valle's comments

            that "the problem" was Vazquez's "political differences" with

            Lopez.  Second,  he can point to Lopez's acknowledgement that

            he made  "some comments" to  Del Valle  that he did  not want

            Vazquez to hear.   Finally, he can note Gonzalez's  statement

            that  Gonzalez  felt  "pressure"  not  to  reverse  Vazquez's

            dismissal.

                      These comments  are insufficient to  establish that

            Lopez engineered  Vazquez's dismissal  in order  to retaliate

            for Vazquez's support  of Romero, and amount to  no more than

            "unsupported  and speculative assertions."  LaRou, 98 F.3d at
                                                        _____

            661.    Even viewing  these  statements  in  the  light  most

            favorable to Vazquez, no reasonable jury could find that such



                                         -18-
                                          18















            statements  prove by  a preponderance  of  the evidence  that

            Vazquez's   support   of  Romero   was  a   "substantial"  or

            "motivating"  factor in the PRMSA Board's decision to include

            his  position  in  the  reorganization.    That  Vazquez  had

            "political differences" with  a single PRMSA Board  member at

            some unidentified time does not establish that the Board or a

            majority of the  Board acquiesced in a plan  to eliminate his

            position in retaliation for  those differences.  Nor does  it

            establish that "the  problem" referred to the  elimination of

            Vazquez's position.  Similarly, Gonzalez's statement  that he

            felt  "pressure"  not  to  reverse  Vazquez's  dismissal says

            nothing about the reason for  the pressure.  Facing a deficit

            in  excess of $300  million, PRMSA Board  members undoubtedly

            felt pressure to stand by the reorganization plan.

                      Finally,  we find  no abuse  of  discretion in  the

            action of the district court in entering summary judgment sua

            sponte for  PRMSA, following  the district  court's grant  of

            summary  judgment   to  PRMMI   and  Lopez.     Vazquez   had

            "appropriate notice and a chance to present [his] evidence on

            the essential elements of [his]  claim . . . ."  Berkovitz v.
                                                             _________

            Home  Box Office,  Inc.,  89  F.3d 24,  29  (1st Cir.  1996).
            _______________________

            Vazquez  does  not  identify how  his  opposition  to summary

            judgment for  PRMSA would have  differed in any way  from his

            opposition to summary judgment for PRMMI and Lopez.





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                      The  judgment of  the district  court is  affirmed.
                                                                ________

            Costs to appellees.

















































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